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13   INTEGRATED PRODUCTS, INC.
     and VOLTERRA SEMICONDUCTOR LLC
14
                                     UNITED STATES DISTRICT COURT
15
                                    NORTHERN DISTRICT OF CALIFORNIA
16
                                           (SAN JOSE DIVISION)
17
     MAXIM INTEGRATED PRODUCTS, INC., and                Case No. 5:17-cv-3507-NC
18   VOLTERRA SEMICONDUCTOR LLC,
19                    Plaintiffs,                        JOINT MOTION AND ORDER OF
                                                         DISMISSAL WITH PREJUDICE
20   v.
21   SILICON MITUS TECHNOLOGY, INC., and
     SILICON MITUS, INC.
22
                      Defendants.
23

24

25           Pursuant to Rule 41(a) of the Federal Rules of Civil Procedure, Plaintiffs Maxim Integrated
26    Products, Inc. and Volterra Semiconductor, LLC (collectively “Plaintiffs”) and Defendants Silicon
27    Mitus, Inc. and Silicon Mitus Technology, Inc. (collectively “Defendants”) have agreed to
28                                                                           JOINT MOTION & ORDER
                                                  1
                                                                       OF DISMISSAL WITH PREJUDICE
                                                                              Case No. 5:17-cv-3507-NC
            Case 5:17-cv-03507-NC Document 98 Filed 08/22/18 Page 2 of 3




 1   compromise all claims and counterclaims against each other in the above-captioned action

 2   (“Action”). The Parties move this Court to dismiss the Action in its entirety, including any and all

 3   claims and counterclaims by all Parties in the Action, with prejudice. All costs and expenses

 4   relating to this Action (including attorney and expert fees and expenses) are to be borne solely by

 5   the Party incurring same.

 6

 7   Dated: August 22, 2018                             FISH & RICHARDSON P.C.
 8                                                      By: /s/ David M. Barkan
                                                            David M. Barkan
 9

10                                                      Attorneys for Plaintiffs
                                                        MAXIM INTEGRATED PRODUCTS, INC.,
11                                                      and VOLTERRA SEMICONDUCTOR LLC.

12

13

14 Dated: August 22, 2018                            PILLSBURY WINTHROP SHAW PITTMAN LLP

15                                                      By: /s/ David A. Jakopin
                                                            David A. Jakopin
16
                                                        Attorneys for Defendants
17                                                      SILICON MITUS, INC. and SILICON MITUS
                                                        TECHNOLOGY, INC.
18

19          I hereby attest under penalty of perjury that concurrence in the filing of this document has
20   been obtained from counsel for Defendants.
21
     Dated: August 22, 2018                             FISH & RICHARDSON P.C.
22

23                                                      By: /s/ David M. Barkan
                                                            David M. Barkan
24
                                                        Attorneys for Plaintiffs
25                                                      MAXIM INTEGRATED PRODUCTS, INC.,
                                                        and VOLTERRA SEMICONDUCTOR LLC.
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28                                                                              JOINT MOTION & ORDER
                                                    2
                                                                          OF DISMISSAL WITH PREJUDICE
                                                                                 Case No. 5:17-cv-3507-NC
            Case 5:17-cv-03507-NC Document 98 Filed 08/22/18 Page 3 of 3




 1                                                   ORDER

 2          The Court has before it the Joint Motion of Dismissal with Prejudice. The Court is of the

 3   opinion that the motion should be GRANTED.

 4          IT IS THEREFORE ORDERED that in the above-captioned action, including all claims and

 5   counterclaims made by all Parties, (“Action”) is hereby DISMISSED in its entirety with prejudice.

 6          IT IS FURTHER ORDERED that all costs and expenses relating to the Action (including

 7   attorney and expert fees and expenses) shall be borne solely by the Party incurring same and there

 8   shall be no award of any kind by this Court in this Action, including an award for any cost, fees or
 9   other expenses.
10          This is a Final Judgment.

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12          IT IS SO ORDERED.
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     Dated: August 22, 2018
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                                                     Nathanael

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                                                     U.S. Magistrate Judge
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